326 F.2d 204
    139 U.S.P.Q. 543
    J. &amp; G. DEVELOPMENT COMPANY, Inc., and The Filtron Company,Inc., Plaintiffs- Appellants,v.ALL-TRONICS, INC., Defendant-Appellee.
    No. 141, Docket 28329.
    United States Court of Appeals Second Circuit.
    Argued Dec. 2, 1963.Decided Dec. 13, 1963.
    
      David S. Kane, of Kane, Dalsimer &amp; Kane, New York City (Haynes N. Johnson, David H. T. Kane, New York City, of counsel), for plaintiffs-appellants.
      Walter H. Free, of Brumbaugh, Free, Graves &amp; Donohue, New York City (John F. Neary, Jr., New York City, of counsel), for defendant-appellee.
      Before MOORE, FRIENDLY and KAUFMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Plaintiffs allege that defendant has infringed Patent No. 2,835,874, relating to the design and construction of electrical interference suppression filters.  For the reasons stated in Judge Dooling's thorough opinion below, 213 F.Supp. 723 (E.D.N.Y.1962), we find that the patented device was anticipated by the Tobe-Deutschmann filter 1547, 35 U.S.C. 102, that there is not present in the patentees' work sufficient invention to satisfy the standard of 35 U.S.C. 103, and that on both these grounds plaintiffs' patent is invalid.  We thus find it unnecessary to determine whether plaintiffs had placed their filter on sale and in public use more than a year before the patent application was filed.
    
    
      2
      Judgment affirmed.
    
    